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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION

KATHLEEN HORSNELL,

       Plaintiff,

-vs-                                              CASE NO.: 6:17-CV-01954-ACC-KRS

NAVIENT SOLUTIONS, LLC,

       Defendant.
                                       /


                JOINT STIPULATION OF DISMISSAL WITH PREJUDICE


       COMES NOW the Plaintiff, Kathleen Horsnell, and the Defendant, Navient Solutions,

LLC, and pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), hereby stipulate to dismiss, with prejudice,

each claim and count therein asserted by Plaintiff against the Defendant in the above styled

action, with Plaintiff and Defendant to bear their own attorney’s fees, costs and expenses.

       Respectfully submitted this 6th day of July, 2018.

/s/Octavio “Tav” Gomez, Esquire                   /s/Michael Schuette, Esquire
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                                                  Counsel for Defendant
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                                CERTIFICATE OF SERVICE

       I hereby certify that on July 6, 2018, I electronically filed the foregoing with the Clerk of

the Court by using the CM/ECF system and that a Notice of this filing will be sent to the

following by operation of the Court’s Electronic Filing System: Michael Schuette, Esquire and

Dayle M. Van Hoose, Esquire, Sessions, Fishman, Nathan & Israel, L.L.C., 3350 Buschwood

Park Drive, Ste. 195, Tampa, FL 33618 (mschuette@sessions.legal; dvanhoose@sessions.legal;

and ycolon@sessions.legal).

                                                  /s/Octavio Gomez, Esquire
                                                  Octavio “Tav” Gomez, Esquire
                                                  Florida Bar #: 0338620
                                                  Counsel for Plaintiff
